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Application for Search and Seizure Warrant
RECEIVED

UNITED STATES DISTRICT COURT May 3, 2021

for the CLERK U.S. DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON AT TACOMA

Westem District of Washington BY DEPUTY

 

In the Matter of the Search of:

RCea ni ven chic Justin Tyler Mathis, 05/21/1995

Case No. MJ21-5094

APPLICATION FOR A SEARCH WARRANT FOR BLOOD SAMPLE

I, lan McCranie, a federal law enforcement officer or an attorney for the government, request a search
warrant and state under penalty of perjury that I have reason to believe that a sample of blood consisting of one of
more tubes or vials should be taken from the following person:

Justin Tyler Mathis,

located in the Western District of Washington and that this blood sample is evidence of the following crime or crimes.

1 Driving While Under the Influence in violation of RCW 46.61.502, 18 U.S.C. § 13, and
36 C.F.R § 4.23 or 38 C.F.R. § 1.218

C1 Physical Control of a Vehicle While Under the Influence of Alcohol or Drugs in violation
of RCW 46.61.504, 18 U.S.C. § 13, and 36 C.F.R § 4.23 or 38 C.F.R. § 1.218

CJ Driver under Twenty-One Consuming Alcohol or Marijuana in violation of RCW
46.61.503 and 18 U.S.C. § 13

O Vehicular Homicide in violation of RCW 46.61.520 and 18 U.S.C. § 13
[1 Vehicular Assault in violation of RCW 46.61.524 and 18 U.S.C. § 13
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This application is based on the facts set forth in the attached affidavit which is incorporated herein as if
fully set forth.

Pursuant to Fed. R. Crim. P. 4.1 & 41(d)(3), this warrant is presented:
&] By reliable electronic means. C) Telephonically (and recorded).

ae Zia,

Applicant’s Signature
Ian McCranie, Traffic Investigator
Joint Base Lewis-McChord Police Department

The above-named agent provided a sworn statement attesting to thé of the foregoing affidavit by
telephone on this 2ad day of May, 2021.

 

THE HON. BRIAN A. TSUCHIDA
UNITED STATES MAGISTRATE JUDGE

 
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STATE OF WASHINGTON )
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COUNTY OF PIERCE

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AFFIDAVIT OF IAN MCCRANIE
I, Officer Ian McCranie, a Traffic Investigator with Joint Base Lewis-McChord
Police, Pierce County, Washington, having been duly swom, state as follows:
AFFIANT BACKGROUND
1, II have served as a law enforcement officer for the past eight years. My

training and experience relevant to the investigation discussed below includes the

following:
x] Basic Law Enforcement Academy at the Department of the Army
Civilian Police Academy
X] Standardized Field Sobriety Testing
XJ Standardized Field Sobriety Test Instructor
>} Advanced Roadside Impaired Driving Enforcement Training

I am Ian P. McCranie, currently assigned to the Joint Base Lewis-McChord (JBLM) Police
Traffic Management and Collision Investigation Section (TMCI) as a Traffic Investigator since
March 2019. I have completed training in, and am certified to perform, Standard Field Sobriety
Tests (SFSTs) in Washington State by the Directorate of Emergency Services on Joint Base
Lewis-McChord. My certification was completed in June of 2013 in accordance with National
Highway and Transportation Safety Administration (NHTSA) standards. J have completed the
Department of the Army Civilian Police Academy, a 10 week course of study which included
training on the subjects of DUI detection and Standard Field Sobriety Tests. I completed initial
training and certification on the BAC DataMaster in June of 2013 and recertification in January
2016. I completed training and certification on the BAC Draeger in August 2017 and
recertification in February 2019. I completed Advanced Roadside Impaired Driving Enforcement
(A.R.I.D.E.) in November of 2017. I completed a Marijuana Controlled Burn though the
Department of the Army Criminal Investigative Division (CID) in May of 2018. I completed

Marijuana DUI: Prosecution and Enforcement through the Traffic Safety Resource Program in

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BLOOF WARRANT FOR JUSTIN TYLER MATHIS SEATTLE, WASHINGTON 98101

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August of 2018. I completed Standard Field Sobriety Test Instructor Development Course in
October 2020, in accordance with National Highway and Transportation Safety Administration
(NHTSA) standards. I completed DUI Refresher training through the Traffic Safety Resource
Program in February 2021. I have completed the following Washington State Criminal Justice
Training Commission (CJTC) Traffic Collision Investigation Courses: Basic Collision
Investigation Course (40 Hours) in Puyallup, WA. Advanced Collision Investigation Course (80
Hours) in Puyallup, WA. Technical Collision Investigation Course (120 Hours) in Puyallup,
WA. Lalso completed the FARO 3D Laser Scanner Course (24 Hours) on Joint-Base Lewis-
McChord, WA. I have been a member of the Washington Association of Technical Collision
Investigators since March 2020. I have received 264 Hours of training in Traffic Collision
Investigations. I have conducted 46 DUI/Physical Control arrests during my law enforcement
career. By virtue of this training and experience, I am familiar with current techniques for
detecting drug or alcohol impaired drivers, and I am competent to perform such investigations.

2. The information presented in this affidavit is:

bk Based on my personal observations and interviews that I have
conducted.

INTRODUCTION AND PURPOSE OF THE AFFIDAVIT

3. The purpose of this affidavit is to seek a search warrant to authorize me or
other law enforcement officers to direct a physician, a registered nurse, a licensed
practical nurse, a nursing assistant as defined in Chapter 18.88A of the Revised Code of
Washington (RCW), a physician assistant as defined in chapter 18.71A of the RCW, a
first responder as defined in chapter 18.73 of the RCW, an emergency medical technician
as defined in chapter 18.73 of the RCW, a health care assistant as defined in chapter
18.135 of the RCW, or any technician trained in withdrawing blood to extract a blood
sample consisting of two or more tubes or vials from Justin Tyler Mathis, (hereafter “the
Subject”). This warrant is requested for the purpose of gathering evidence of the
following crime(s):

&) Driving While Under the Influence in violation of RCW 46.61.502, 18
U.S.C. § 13, and 36 C.F.R § 4.23 or 38 C.F.R. § 1.218

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O Physical Control of a Vehicle While Under the Influence of Alcohol or
Drugs in violation of RCW 46.61.504, 18 U.S.C. § 13, and 36 C.F.R §
4,23 or 38 C.F.R. § 1.218

QO Driver under Twenty-One Consuming Alcohol or Marijuana in violation
of RCW 46.61.503 and 18 U.S.C. § 13

O Vehicular Homicide in violation of RCW 46.61.520 and 18 U.S.C. § 13
CL] Vehicular Assault in violation of RCW 46.61.524 and 18 U.S.C. § 13
O

 

4. I am seeking to present this application for a search warrant by electronic
means because the natural metabolization of alcohol or drugs in the bloodstream may
result in the loss of this evidence in the time it would take to present a search warrant
application in a more traditional fashion.

SUMMARY OF PROBABLE CAUSE

5. As a result of my duties I am familiar with the jurisdictional boundaries of
Joint Base Lewis-McChord, Washington. The incident described below occurred within
these jurisdictional boundaries, an area within the special maritime and territorial
jurisdiction of the United States as defined in 18 U.S.C. § 7.

6. The initial contact with the Subject occurred on 02 May 2021 at
approximately 8:30 pm hrs in the parking lot of 13611 12" St. At this time two witnesses,
identified as Steven Tyler Hough and Colin William Weyker observed a white 2015
Chevrolet Silverado WA/C19375U, driving through the parking lot. Both witnesses
observed the Chevrolet impact the Dodge Ram with the Chevrolet’s tires and slide across
the front of a parked 2005 blue Dodge Ram OK/FGL846. Both witnesses then saw the
Chevrolet continue to drive and park in a parking stall. Hough and Weyker called the
owner of the Dodge Ram and told him his vehicle had been hit. Hough and Weyker
continued to watch the Chevrolet but no one exited the vehicle. Once the owner,
identified as Jared D Sanders came outside, all three approached the vehicle and found
the driver passed out in the driver’s seat of the vehicle. Hough opened up the passenger

door of the Chevrolet and saw the driver, identified as Justin Tyler Mathis (Subject) in

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the driver’s seat, vomiting into his own lap. Weyker then called their on duty CQ, who
then called JBLM Police.

7. Based on my training and experience, I believe the Subject may be under
the influence of intoxicants or drugs for the following reasons: I arrived on scene at
approximately 9:24 hrs. JBLM Fire personnel were already onscene and appeared to be
talking to the Subject through the passenger door. One of the Fire personnel walked over
to me and told me that they did not see anything wrong with him but that he wouldn’t let
them evaluate him. The Fire personnel said the Subject just appeared to be intoxicated.

8. I quickly made contact with the owner of the Dodge Ram and he showed
me the damage to the vehicle, which included a small dent to the front bumper and tire
rub marks along the front end of the vehicle. I then walked over the Chevrolet and
observed rub marks and tire damage on the driver’s side front tire, consistent with the
collision.

9. I then made contact with the subject on the passenger side of the vehicle.
The subject at this point was not wearing a shirt. I introduced myself as JBLM Police.
The subject stated that he was worried about being tased and asked if he could touch his
vape. I told him that wasn’t a concern. The subject’s words were heavily slurred and an
obvious odor of intoxicating beverages was detected. I told him that the medical
personnel here were concerned about him. JBLM Fire personnel asked the subject if he
was diabetic, which he stated he was not. JBLM Fire personnel told me they didn’t have
any other questions for him. I then walked over to the driver’s side and continued to talk
to the subject. I told him that people had called concerned about him. The subject told me
that no one around here was concerned about him. I asked the subject if he had consumed
any alcoholic beverages today. The subject said that he had some while at the lake. I
asked him if he had come from American Lake, he said yah. I asked the subject if he
could step out of the vehicle, which he refused. The subject argued that he did not want to
get out of the vehicle. The subject then said several more statements about it being

criminal that did not make sense. A strong odor of intoxicates continued to emanate from

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the subject and his eyes were bloodshot, watery and droopy. After several minutes of
telling the subject to exit the vehicle, he did.

10. Once out of the vehicle, the subject stumbled and had to be caught so he did
not fall onto a nearby car. Once I got the subject steady on his feet, I told him I was
concerned about his ability to operate a motor vehicle safety and asked him if he would
be willing to submit to voluntary Standardized Field Sobriety Tests (SFSTs). The subject
then refused to submit to SFSTs. 9:38 pm I concluded that the subject was under the
influence of intoxicating liquor and/or drugs and unable to operate a motor vehicle safely.
I took the Subject into custody without incident and escorted him to my patrol vehicle.
The subject was searched with nothing of evidentiary value found. The subject was then
secured in my rear passenger seat. I then advised the subject of his rights, which he
refused to acknowledge and said he did not understand. I advised the subject of his rights
two more times, to which the subject continued to interrupt and said he did not
understand and wanted a lawyer. The subject was transported to the PMO for further
processing.

II. Once at the PMO the subject began to resist being taken to the BAC room
and I had to gain the assistance of another officer to move the subject to the BAC room.
The subject then refused to sit in the BAC room chair. After a few minutes of attempting
to get the subject to sit, he was taken to the PMO D Cell. Once there he was advised of
his constitutional rights from the Washington State DUI Arrest Report. The subject
continued to say he did not understand his rights. I then advised the subject of his rights
two more times, to which he again said he did not understand. The subject was asked if
he wanted to speak to an attorney, but he refused. I then advised the subject of the
Implied Consent Warning for Breath, which the subject refused to acknowledge and said
“blood”. I told him I would mark him as a refusal, he said blood and he wasn’t refusing.

12. The Subject:

J Has refused to take a breath Alcohol test on an instrument approved by
the State Toxicologist or a federal agency for such breath testing.

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LJ Is being treated in a hospital, clinic, doctor’s office, emergency medical
vehicle, ambulance, or other similar facility, or is at a location that lacks
an instrument approved by the State Toxicologist or a federal agency for
performing such breath testing, and has refused to submit to a blood
test.

C Is incapable due to physical injury, physical incapacity, or other
physical limitation of submitting to a breath alcohol test, and the
defendant has refused to submit to a blood test.

C) Has refused to submit to a blood test at the request of the undersigned.

CL] Was not offered an opportunity to take a breath alcohol test on an
instrument approved by the State Toxicologist or a federal agency for
such breath testing because:

L] The available instrument is currently out of order

L] The individual does not speak English and the implied consent
warnings are not available in a language that the defendant
understands

Ol

C) Submitted to a breath test on an instrument approved by the State
Toxicologist or a federal agency for such breath testing but the breath
alcohol concentration reading of xx BAC LEVEL is not consistent with
the defendant’s level of impairment suggesting that the defendant is
under the influence of a drug.

 

13. A-sample of blood extracted from the Subject if taken within a reasonable
period of time after he/she last operated, or was in physical control of, a motor vehicle,
may be tested to determine his/her current blood alcohol level and to detect the presence
of any drugs that may have impaired his/her ability to drive. This search warrant is being
requested within 3 hours and 30 minutes after the Subject ceased driving or was found in
in physical control of a motor vehicle.

CONCLUSION

14. For the reasons stated above, I request authority to direct a physician, a
registered nurse, a licensed practical nurse, a nursing assistant as defined in chapter
18.88A of the RCW, a physician assistant as defined in chapter 18.71A of the RCW,

a first responder as defined in chapter 18.73 of the RCW, an emergency medical

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technician as defined in chapter 18.73 of the RCW, a health care assistant as defined in
chapter 18.135 of the RCW, or a technician trained in withdrawing blood to extract a
blood sample consisting of one or more tubes or vials from Justin Tyler Mathis,
05/21/1995.

15. This application for a warrant is being presented electronically pursuant to
Fed. R. Crim P. 4.1 & 41(d)(3).

I certify (or declare) under penalty of perjury under the laws of the United States

that the foregoing is true and correct to the best of my knowledge, information and belief.

Dated this 2nd day of May, 2021.

Ian McCranie, Traffic Investigator
Joint Base Lewis-McChord

The above-named agent provided a sworn statement attesting to the truth of the
. . in
foregoing affidavit on poke day of May, 2021.

 

THE HON. BRIAN A. TSUCHIDA
UNITED STATES MAGISTRATE JUDGE

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